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                           UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF ILLINOIS

                                      EASTERN DEVISION



 SHENZHEN MUZHIYUAN TRADING CO.,
 LTD. AND MUZHIRAN TRADING                           Case No. 24-cv-12032
 (DONGGUAN) CO., LTD.,
                                                     Judge: Honorable Sara L. Ellis
                        Plaintiff,
      v.

 THE PARTNERSHIPS, AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                        Defendants,



                                     NOTICE OF MOTION

     PLEASE TAKE NOTICE that on Tuesday, February 4, 2025, at 9:30 a.m. (CST) or as soon

thereafter as I may be heard, I shall appear before the Honorable Sara L Ellis through at Court

Room 1403 of the Everett Mckinley Dirksen U.S. Courthouse and shall present the following

motion: Motion for Preliminary Injunction. [30]

     Respectfully submitted on February 2nd, 2025.



                                                       By: /s/ Huicheng Zhou
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                                                       Attorney for Plaintiffs




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